10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:04-cr-00374-S.]O Document 193 Filed 02/03/10 Page 1 of 29

GEORGE S. CARDONA

Acting United States Attorney
CHRISTINE C. EWELL

Assistant United States Attorney
Chief, Criminal Division

DGROTHY C. KIM (Cal. State Bar. NO.
Assistant United States Attorney

1100 United States Courthouse
312 North Spring Street

LOS Angeles, California 90012
Telephone: (213) 894-3779
Facsimile: (213) 894-6269
E-Mail: dorothy.kim@usdoj.gov

Att©rney for Plaintiff
United States cf America

UNITED STATES OF AMERICA,

RITA MARIE LAVELLE,

206333)

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

Respondent,

V .

CR O4-374~SJO
CV O7-4160-SJO

Page |D #:164

GOVERNMENT'S OPPOSITION TO

 

Petitioner.

 

Plaintiff-respondent United States cf America,

U.S.C. § 2255

NO Hearing Date Set

)
)
)
§
) DEFENDANT'S MOT:ON UNDER 28
)
)
)
)
)
)

through its

Counsel of record, Assistant United States Attorney Dorothy C.

Kim,

hereby files its Opposition to defendant-petitioner Rita

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-00374-S.]O Document 193 Filed 02/03/10 Page 2 of 29 Page |D #:165

Marie Lavelle'e motion to vacate, Set aside, or correct her

Sentenoe.

Dated: February\§w, 2010

Respeotfully Submitted,

GEORGE S. CARDONA
Acting United States Attorney

CHRISTINE C. EWELL
Assistant United States Attorney
Chief, Criminal Division

/(§ ed /L/

DOROTHY C. KIM
Assistant United States Attorney

 

Attorneys for Plaintiff
United Statee of Amerioa

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 3 of 29 Page |D #:166

TABLE OF CONTENTS

 

 

 

 

 

 

PAGE (S)
TABLE OF AUTHORITIES 11
I. INTRODUCTION l
11. PROCEDURAL HISTORY AND RELEVANT FACTS 1
A. Defendant‘e Criminal Conduot 1
B. Indiotment and First Suoereedinq ludiotment 4
C. Trial 4
D. Sentenoing 7
E. First Ap§eal 9
F. Ameline Remand 9
G. Seoond AQ§eal 9
H. 2255 Motion 9
111. ARGUMENT 10
A. Standard For Evaluatinq Defendant‘e Claim 10
B. Defendant Cannot Demonstrate That Her Counsel Was
Constitutionallv Ineffeotive 13
1. Vulnerable Victim Enhancement 13
2. CroSS~EXamination of Chavez and S&nfofd 18
3. Defendant's Testimony 19
4. Signed Copy of Indictment 22
IV. CONCLUSION 23

 

O\COO\JO\LA-$>WN-~‘

{\) {\) [\) [\) -~a »-¢ »-¢ »-¢ »__4 »._4 »._4 »_4 »_¢ --a
L)J !\) ’_‘ 0 @ 90 \l O\ Lfl 45 '~)J I\) *-‘

24

 

 

 

 

 

 

 

 

 

 

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 4 of 29 Page |D #:167
TABLE OF AUTHORITIES

CASES: PAGE(S)
Bittaker v. Woodford,

331 F.3d 715 (9th Cir. 2003) ........................... 12
Denham v. Deeds,

954 F.2d 1501 (9th Cir. 1992) ...................... 12, 22
Hensley v. Crist,

67 F.3d 181 (9th Cir. 1995) ............................ 11
Jones v. Barnes,

463 U.S. 745 (1983) .................................... 19
Kimme1man v. Morrison,

477 U.S. 365 (1986) .................................... 11
Rock v. Arkansas,

483 U.S. 44 (1987) ..................................... 19
Striokland v. Washinqton,

466 U.S. 668 (1984) ................................ passim
Wainwriqht v. Svkes,

433 U.S. 72 (1977) ..................................... 19
White v. Sanford,

142 F.2d 429 (5th Cir. 1943) ........................... 22
United States v. Ameline,
376 F.3d 967 (9th Cir. 2004) ................................ 17
United States v. Ameline,

409 F.3d 1073 (9th Cir. 2005) ........................... 9
United States v. Booker,

543 U.S. 220 (2005) .................................... 17
United States v. Bosch,

914 F.2d 1239 (9th Cir. 1990) .......................... 12
United States v. Claiborne,

870 F.Zd 1463 (9th Cir. 1989) .......................... 11

_ii_

 

b.)

\OOC\!O\Kh-{>

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10

TABLE OF AUTHORITIES

 

 

 

 

 

Page 5 of 29

Page |D #:168

PAGE(S)
United States v. Hioks,
217 F.3d 1038 (9th Cir. 2000) .......................... 15
United States v. Quintero»Barraza,
78 F.3d 1344 (9th Cir. 1995) ........................... 11
United States v. Wo1fson,
634 F.2d 1217 (9th Cir. 1980) .......................... 19
STATUTES:
18 U.S.C. § 1001(3) .......................................... 4
18 U.S.C. § 1343 ............................................. 4
18 U.S.C. § 3553(&) ......................................... 17
28 U.S.C. § 2255 ......................................... 1, 9,
10
RULES:
Fed. R. Evid. 902(11) ....................................... 18
SENTENCING GUIDELINES:
U.S.S.G. § 3A1.1 n2 ..................................... 6, 7, 8

~iii-

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 6 of 29 Page |D #:169

MEMORANDUM OF POINTS AND AUTHORITIES
1.
INTRODUCTION
On June 26, 2007, defendant»petitioner Rita Marie Lavelle
("defendant") filed a motion to vacate her sentence under 28
U.S.C. § 2255. (CR CR 168)1. In that motion, defendant claimed
that her counsel was ineffective in a number of respects. For
the reasons set forth below, the government submits that
defendant's counsel was not ineffective and respectfully requests
that this Court deny defendant's motion.
11.
PROCEDURAL HISTCRY AND RELEVANT FACTS2

A. Defendant's Criminal Conduct

 

Defendant owned a business called NuTECH Enterprises, lnc.,
which operated as an environmental consulting company. (PSR
§ 13). Co~defendant, Robert Virgil Cole, owned a business called
DeNova Environmental, lnc., a hazardous waste storage and
transfer facility. (PSR 1 14). Joseph Bertelli owned a business
called Lemco Corporation. (PSR 1 15). At the time of

defendant's criminal conduct, Bertelli was 80 years old and had

 

11"CR CR" refers to the Clerk's Record in the criminal case
and is followed by the applicable document control number. "CV
CR" refers to the Clerk's Record for the civil case and is
followed by the applicable document control number.

2Defendant‘s motion contains a section entitled "Historical

Factual Background." (Def‘s Mot. 5~13). This section, however,
does not include any citations to the record. lt also includes
numerous incorrect statements. The government does not correct

every inaccuracy but responds to misstatements as necessary for
purposes of this opposition.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 7 of 29 Page |D #:170

undergone treatment for mouth cancer. (;d;). Bertelli hired
defendant as a consultant. Capital Partners was a factoring
company that advanced monies to clients in exchange for the right
to collect clients‘ accounts receivables. (PSR § 16).

Defendant and Cole devised a plan whereby they would obtain
money for defendant and, at the same time, satisfy a debt that
DeNova owed to defendant and NuTECH. (PSR 7 18). Defendant and
Cole agreed to make it appear that Lemco owed DeNova over
$52,000, and to assign this alleged debt to Capital Partners in
return for an advance that would be sent to defendant. (PSR
11 17-19).

On August 28, 2000, defendant sent a letter to Capital
Partners, which attached a number of documents that defendant
falsely stated "had been signed" by Bertelli and which made it
appear that Bertelli owed DeNova $52,130. (PSR 1 20). Defendant
additionally provided Capital Partners with Bertelli‘s social
security number and bank account information so that Capital
Partners would be able to access the bank account that Bertelli
had purportedly offered as security for the purported debt.
Bertelli, however, had never signed any of these documents and
had never discussed with defendant any purported debt or
guaranteeing a $52,130 payment to DeNova. (9/23/04 RT 62~67;
EXh. C 80~85).

Based on the purported personal guarantee of Bertelli,
Capital Partners approved a $36,441 advance to DeNova. (9/22/04

RT 138-39; EXh. B 48~49). At the direction of Cole and

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 8 of 29 Page |D #:171

defendant, Capital Partners wired the proceeds of the advance,
interstate, to defendant's Wells Fargo bank account. (9/22/04 RT
108~09; 141-42; Exh. B 46-47, 51-52).

On February 26, 2001, defendant admitted to Federal Bureau
of lnvestigation ("FBI") Special Agent Annette Freihon that she
had signed Bertelli's name on various documents that she had sent
to Capital Partners. (9/23/04 RT 46-47; EXh. C 75-76).

On October 17, 2002, after defendant learned that she was
the target of an investigation, she requested another interview
with Special Agent Freihon. During that interview, defendant
changed her story and told Special Agent Freihon that when she
received money from Capital Partners, in August 2000, she did not
know which accounts receivable Capital Partners was factoring.
(9/23/04 RT 52; Exh. C 77). Defendant further stated that she
only learned about the fraudulent scheme -- which she attributed
to DeNova -- after November 2000, when Bertelli showed defendant
a Capital Partners invoice. (9/23/04 RT 53; Exh. C 78).

Following the interview, defendant prepared a written
declaration. (;d;). Defendant wrote that she did not give
Capital Partners any documents until "after the problem emerged."
As defendant explained to Special Agent Freihon, by "after the
problem emerged," defendant meant after Bertelli had received a
Capital Partners invoice. (9/23/04 RT 59; Exh. C 79).

On September 10, 2003, and October 8, 2003, at defendant‘s
reguest, she testified before the grand jury. (9/23/04 RT 10-23;

Exh. C 56-69). During that testimony, parts of which were read

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 9 of 29 Page |D #:172

into the record at trial, defendant admitted that she had signed
Bertelli‘s name on a purchase order. (9/23/04 RT 28; Exh. C 70).
Defendant also admitted that she may have signed Bertelli's name
to other documents that she had sent to Capital Partners.
(9/23/04 RT 33-34; Exh. C 71~72).

B. lndictment and First Superseding lndictment

 

On April 7, 2004, a federal grand jury returned an
indictment charging defendant and co-defendant Robert Virgil Cole
with one count of wire fraud, in violation of 18 U.S.C. § 1343;
and defendant with two counts of making false statements, in
Violation of 18 U.S.C. § 1001(&). (CR CR 1). On duly 28, 2004,
a federal grand jury returned a first superseding indictment that
charged sentencing factors as "additional allegations." The
first superseding indictment charged, in count one, that the loss

amount exceeded $30,000 and that one of the victims to

defendant's crimes was unusually vulnerable. (CR CR 52; attached
Exh. A). The indictment that was filed with the clerk‘s office
contained the signature of the grand jury foreperson. (;d;).

C. Trial

On September 21, 2004, a jury trial commenced against
defendant. (CR CR 98). Joseph Bertelli testified at trial.
Bertelli appeared in a wheelchair and had "significant
impairments." (9/22/04 RT 57; Exh. B 36). Among other things,
Bertelli had llsignificant difficulty" in raising his hand.
(9/22/04 RT 58; Exh. B 37). At the time of his testimony,

Bertelli was 84 years old. (9/22/04 RT 67; Exh. B 38). Bertelli

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 10 of 29 Page |D #:173

testified that in 1999, prior to the wire fraud charged in the
indictment, he had mouth cancer which resulted in surgery to
remove the cancer. (9/22/04 RT 67~68; Exh. B 38~39). lndeed, at
the time of trial, Bertelli had trouble speaking because his jaw
had been removed.

Cynthia Chavez, a paralegal at Wells Fargo Bank testified at
trial. She testified as a custodian of records regarding the
authenticity of certain bank documents. (9/22/04 RT 76~77; Exh.
B 40~41). These bank documents demonstrated that on August 22,
2000, defendant had a zero balance in her Wells Fargo account.
(9/22/04 RT 77; Exh. B 41). The bank documents also demonstrated
that on August 30, 2000, the Bank of Stockton wired $36,441 from
Capital Partner's account into defendant's Wells Fargo bank
account. (;d;). On cross~examination, defense counsel elicited
that one of the bank records did not contain the notation "Fed
wire" next to the August 30, 2000 transfer of funds. (9/22/04 RT
83~84; Exh. B 42~43). Counsel apparently intended to suggest
that there was some question as to how $36,441 moved from one
bank account to another. On redirect, Chavez clarified that the
August 30, 2000 transfer of funds occurred through a wire
transfer. <9/22/04 RT 85; Exh. s 44).

Kelly Sanford, who was employed by the Federal Reserve Bank
in Kansas City, also testified at trial. (9/22/04 RT 107; Exh. B
45). Sanford testified about Exhibit 75, a document that
demonstrated that on August 30, 2000, the Bank of Stockton wired

money from Capital Partner's bank account to the defendant's

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 11 of 29 Page |D #:174

Wells Fargo account, and that the wiring of such funds traveled
through East Rutherford, New Jersey. (9/22/04 RT 108~09; Exh. B
46~47).

At the close of the government's case~in~chief, defense
counsel moved, under Fed. R. Crim. Proc. 29, to dismiss all three
counts of the indictment. (9/23/04 RT 119~21; Exh. C 86~88).
The Court denied the motion.

Defendant testified at trial. Although defendant had
admitted, before the grand jury, to signing Bertelli‘s name to
various documents she submitted to Capital Partners, at trial,
she changed her testimony and stated that Bertelli had actually
signed some of the documents himself. (9/23/04 RT 177~78; Exh. C
89~90). Defendant then modified her response and testified that
because Bertelli was in poor health, defendant sometimes signed
documents for him, but only after discussing such documents with
Bertelli. (9/23/04 RT 185; EXh. C 92).

ln charging the jury, the Court delivered the following
instruction, among others:

The term ‘vulnerable victim‘ means a person who is a

victim of the offense of conviction and who is

unusually vulnerable due to age, physical or mental

condition, or who is otherwise particularly susceptible

to the criminal conduct.

(9/24/04 RT 32; Exh. D 97). This instruction was taken directly
from the sentencing guidelines. USSG § 3A1.1 n.2.
On September 27, 2004, following five days of trial, the

jury convicted defendant on all three counts of the first

superseding indictment and found each of the sentencing

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 12 of 29 Page |D #:175

allegations to be true. (CR 102). On October 4, 2004, defendant
filed a written Rule 29 motion to dismiss all three counts of the
indictment. (CR CR 110). The Court denied that motion.
D. Sentencing

The Presentence Report ("PSR") was disclosed to the parties
on December 13, 2004. lt applied the November 1, 2001 edition of
the Sentencing Guidelines, the guidelines that applied to
defendant's false statement counts. (PSR j 35). lt concluded
that defendant's base offense level was 6, under USSG § 2Bl.1(a).
(PSR j 37). lt then applied a 6-level increase for the loss
amount, under USSG § 2B1.1(b)(1)(D) (PSR § 38), and a 2~level
vulnerable~victim enhancement, under USSG § 3A1.1(b)(1) (PSR
7 40). The PSR calculated defendant's total offense level to be
14. (PSR j 42). Because defendant's total offense level would
have been 14 under the November 1, 2000 edition of the Sentencing
Guidelines, the guidelines that would apply to defendant's wire
fraud conviction, the PSR concluded that the application of the
November 1, 2001 edition of the guidelines did not raise any e_
post facto issues. (PSR j 35). lndeed, under the November 1,
2000 edition of the Guidelines, defendant's base offense level
would have been 6, under USSG § 2F1.1(a). Defendant would have
received a 4~level enhancement for amount of loss, under USSG
§ 2F1.1(b)(1)(E), a 2~level enhancement for a scheme to defraud
more than one victim, under USSG § 2F1.1(b)(2), and a 2~level

vulnerable_victim enhancement, under USSG § 3A1.1(b)(1).

The government submitted its sentencing position in which it

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 13 of 29 Page |D #:176

agreed with the calculations set forth in the PSR. (CR 123).

On December 20, 2004, defendant filed her sentencing
position in which she argued that the November 2000 Guidelines
should apply to her sentence. (CR CR 121). Defendant
additionally argued that under that version of the Guidelines,
neither the multiple victim enhancement nor the vulnerable victim
enhancement should apply. (ld;). According to defendant, only
Capital Partners and not Bertelli was a victim of her fraudulent
scheme. (ld;). Defendant additionally moved for a downward
departure in her sentence. (ld;).

At the sentencing hearing, the Court expressly stated that
it believed there was more than one victim to defendant's crime,
namely, Capital Partners and Bertelli. (1/10/05 RT 18»19; Exh. E
128»29). lt also concluded, based upon its observation of
Bertelli at trial, that Bertelli was a vulnerable victim within
the meaning of USSG § 3Al.l. (1/10/05 RT 19; Exh. E 129)(Stating
"it was clear to the Court, at the time of trial, at least, that
Mr. Bertelli was in an extremely delicate state;" and "l think it
was obvious to the jury, it's obvious to the Court, that Mr.
Bertelli was and is a vulnerable victim, He qualifies as such;
therefore, the Court would conclude that it would also apply.").
The Court therefore concluded that the application of the
November 1, 2001 Guidelines did not raise any ex post facto
issues. The Court calculated defendant's total adjusted offense
level to be 14 and defendant's criminal history category to be l,

resulting in a guideline range of 15’21 months. (1/10/05 RT 20;

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 14 of 29 Page |D #:177

Exh. E 130). The Court sentenced defendant to 15 months.
(i/iO/Os RT 21; Bxh. s 131>.
E. First Appeal

On January 19, 2005, defendant filed her first notice of
appeal. (CR CR 138). On appeal, defendant argued that the
district court erred in its application of the Sentencing
Guidelines. Defendant also argued that the Court had erred in
failing to deliver to the jury additional instructions regarding
the sentencing enhancements.

On August 25, 2005, the Court of Appeals affirmed
defendant's sentence, in part, finding that the district court
correctly applied the Sentencing Guidelines. lt ordered a

limited remand under United States v. Ameline, 409 F.3d 1073 (9th

 

Cir. 2005) (en banc).
F. Ameline Remand

On March 24, 2006, the Court ruled that it would not have
imposed a materially different sentence had it known the
Sentencing Guidelines were advisory. (CR 176).
G. Second Appeal

On March 30, 2006, defendant filed her second notice of
appeal. (CR CR 181). On appeal, defendant argued that the Court
erred in failing to provide a sufficient explanation of its
reasons for not imposing a materially different sentence.
H. 2255 Motion

On June 26, 2007, defendant filed the instant motion to

vacate her sentence under 28 U.S.C. § 2255. (CR CR 188). On

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 15 of 29 Page |D #:178

August 31, 2007, the government filed a motion to stay the

proceedings until defendant's pending appeal was resolved. (CV
CR 4). On September 26, 2007, the Court ordered that the motion
be stayed. (CV CR 5). The Court further ordered that "[tlo lift

the stay, [defendant] must file with the Court a copy of the
order resolving her appeal.'l (ldg). On 0ctober 21, 2008, the
Court of Appeals affirmed defendant's sentence.
lll.
ARGUMENT

Defendant argues that her trial counsel was ineffective at
trial and sentencing because counsel: (1) failed adequately to
challenge the Court's application of the vulnerable victim
enhancement; (2) inadequately cross-examined two witnesses,
Cynthia Chavez and Kelly Sanford; (3) improperly permitted
defendant to testify at trial; and (4) failed to object to the
government‘s failure to produce to defendant a copy of the
indictment signed by the grand jury foreperson. For the reasons
set forth below, none of defendant's claims have merit and each
should be dismissed by this Court.
A. Standard For Evaluating Defendant's Claim

The standard for evaluating a Sixth Amendment ineffective
assistance of counsel claim is set forth in Strickland v.
Washington, 466 U.S. 668 (1984). A defendant claiming
ineffective assistance of counsel bears the burden of
demonstrating that, under all the circumstances of her case,

(1) "[herl counsel's performance was so deficient that it fell

10

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 16 of 29 Page |D #:179

below an 'objective standard of reasonableness,'" Hensley v.
Crist, 67 F.3d 181, 184*85 (9th Cir. 1995) (quoting Strickland,
466 U.S. at 688), and (2) her counsel‘s deficient performance
prejudiced her, meaning "there is a reasonable probability that,
but for counsel's unprofessional errors, the result of the
proceeding would have been different." ld¢ (emphasis in
original)(quoting Strickland, 466 U.S. at 694).

As to the first prong of Strickland, courts reviewing the
reasonableness of an attorney's conduct must examine the
attorney‘s "overall performance," and must be highly deferential
to the attorney‘s judgments. Strickland, 466 U.S. at 688-89.
There exists a "strong presumption that counsel rendered adequate
assistance and made all significant decisions in the exercise of
reasonable professional judgment." United States v. Quintero-
Barraza, 78 F.3d 1344, 1348 (9th Cir. 1995) (internal quotations
omitted). "[T]he defendant must surmount the presumption, that
under the circumstances, the challenged action 'might be
considered sound trial strategy.‘" ld; at 1348 (quoting
Strickland, 466 U.S. at 689). "The reasonableness of counsel‘s
performance is to be evaluated from counsel's perspective at the
time of the alleged error and in light of all the circumstances,
and the standard of review is highly deferential." Kimmelman v.
Morrison, 477 U.S. 365, 381 (1986). As the court explained in

United State$ V. Claiborne, 870 F.2d 1463, 1468 (9th Cir. 1989),

 

"[i]n applying the first prong, it is clear that a reviewing

court is not free to engage in after-the*fact second-guessing of

11

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 17 of 29 Page |D #:180

strategic decisions made by defense counsel. lnstead, judicial
scrutiny of 'counsel‘s performance must be highly deferential.'"
(quoting Strickland, 466 U.S. at 689).

Even if a defendant is able to satisfy the first prong, she
must then establish that the deficient performance prejudiced her
defense by showing that there is "a reasonable probability that,
but for counsel's unprofessional errors, the result of the
proceeding would have been different." ld; at 694. "A
reasonable probability is a probability sufficient to undermine
confidence in the outcome." ld¢ To sustain her burden, a
defendant is required to show that her counsel's conduct "so
undermined the proper functioning of the adversarial process that
the trial cannot be relied upon as having produced a just
result." Denham v. Deeds, 954 F.2d 1501, 1505 (9th Cir. 1992).

A defendant who fails to satisfy either the deficient
performance or the prejudice prong of the Strickland test has
failed to make out a claim for ineffective assistance of counsel.

Strickland, 466 U.S. at 697; United States v. Bosch, 914 F.2d

 

1239, 1244 (9th Cir. 1990). Here, defendant can satisfy neither

prong of Strickland.3

 

BDefendant's ineffective assistance of counsel claim results
in a waiver of the attorney~client privilege as to communications
with her former counsel relevant to the ineffective assistance
claim. ln light of Bittaker v. Woodford, 331 F.3d 715 (9th Cir.
2003), however, the procedures required to define the contours of
the appropriate waiver and implement it with the required
limitations could significantly delay proceedings in this case.
For the reasons set forth below, the government believes that
defendant's ineffective assistance of counsel claim can be
resolved against defendant without disclosure of communications
between defendant and her former counsel, and so without the need

 

12

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 18 of 29 Page |D #:181

B. Defendant Cannot Demonstrate That Her Counsel Was
Constitutionally lneffective

1. Vulnerable Victim Enhancement

Defendant argues that her trial counsel was ineffective at
sentencing because he: (1) failed to file a Rule 29 motion to
dismiss the vulnerable victim enhancement; (2) admitted during
closing argument that Bertelli was a cancer victim; and (3)
failed to request special jury instructions defining "vulnerable
victim." (Def's Mot. 14~15).“ According to defendant, had her
lawyer been more effective, the two~level vulnerable victim
enhancement would not have applied to her sentencing.
Defendant's claims are not supported by the record or case law.

First, although defendant complains that her lawyer failed

to move, under Rule 29, to dismiss the vulnerable victim

 

for the parties and the Court to engage in the time~consuming
procedures required to disclose those communications. lf the
Court disagrees, and believes that examination of the
communications between defendant and her former counsel are
necessary to resolution of defendant's ineffective assistance of
counsel claim, the government requests that the Court find a
limited waiver of the attorney~client privilege and permit the
government to submit a filing setting forth procedures for
implementing the waiver and requesting a briefing schedule for
further addressing defendant's ineffective assistance claim.

@Defendant additionally claims that defense counsel was
ineffective in failing to request a special jury instruction

defining "multiple victim." (Def's Mot. 15). The indictment,
however, did not charge defendant with defrauding multiple
victims. lnstead, the multiple victim enhancement was only

relevant to determining whether the application of the 2001
Guidelines raised any ex post facto issues. Since defendant had
not been charged with defrauding multiple victims, it would have
been nonsensical to request a jury instruction regarding this
sentencing enhancement.

13

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 19 of 29 Page |D #:182

enhancement, a review of the record demonstrates that counsel
moved twice to dismiss all counts of the indictment, including
count one, which included the enhancement. (9/23/04 RT 119~21;
Exh. C 86~88; CR CR 110). Similarly, although defendant
complains that her lawyer admitted during closing argument that
Bertelli was "a cancer victim" (Def's Mot. 15), a review of the
entirety of defense counsel's closing argument demonstrates that
counsel made no such mention of cancer. (9/24/04 RT 53~79; Exh.
D 98-125).“ Finally, defendant's complaint that her counsel was
ineffective in failing to request a specific jury instruction
defining vulnerable victim, ignores that the Court in fact
delivered a jury instruction defining that term. The record
therefore does not support defendant's complaints regarding her
counsel's performance at sentencing.

The government therefore will construe defendant's argument

as one claiming that counsel should have done more, i.e., that
counsel: (1) should have tailored his Rule 29 motion to focus on
the vulnerable victim sentencing enhancement; (2) should have

vigorously contested Bertelli's poor health and undisputed age
during closing argument; and (3) should have requested additional
jury instructions regarding "vulnerable victim.’l Even so
construed, defendant's argument fails the first prong of
Strickland.

A review of the record demonstrates that each of the

 

5The only reference that counsel made during closing
argument to Bertelli's health was that "we know he had serious
health problems four years ago.'l (9/24/04 RT 61; Exh. D 106).

14

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 20 of 29 Page |D #:183

decisions about which defendant now complains can be deemed the
exercise of sound trial strategy. First, defense counsel's
decision to focus his Zealous Rule 29 motions on the actual
counts of conviction rather than the sentencing enhancement was
reasonable. Had the Court granted the Rule 29 motion, it would
necessarily have entered a judgment of acquittal on all counts of
conviction, including count one. Moreover, the evidence
overwhelmingly demonstrated that Bertelli was vulnerable.
Bertelli testified about his age and physical condition, The
jury observed Bertelli at trial. Even defendant admitted during
her testimony that Bertelli was in poor health at the time of the
events at issue. lndeed, she used it as an excuse to explain why
she would have signed certain documents for him. Defense counsel
therefore acted reasonably in not arguing that there was
insufficient evidence to support this uncontroversial fact,

Similarly, defendant's failure to request any additional
instructions regarding the vulnerable victim enhancement cannot
be deemed objectively unreasonable since the Court had already
defined that term for the jury. Accordingly, no other
instruction was necessary. lt is well established that "the
district court need not define common terms that are readily
understandable by the jury." United States v. Hicks, 217 F,3d
1038, 1045 (9th Cir. 2000)(holding that district court did not
need to define the terms "false" or "statement" and collecting
cases discussing terms that need not be defined, including

"commercial advantage," "private financial gain," "violence,"

15

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 21 of 29 Page |D #:184

"organizer," "supervisor," and "manager"). Here, no further
definition of the terms "vulnerable" of "victim" was necessary.
Even in hindsight, defendant cannot articulate what additional
jury instructions the Court should have delivered. Her inability
to point to any additional appropriate instruction further
demonstrates that counsel's performance was reasonable.

Finally, a review of the entirety of defense counsel's
closing argument demonstrates that defense counsel's tactical
decision not to challenge Bertelli's status as a vulnerable
victim was a reasonable one. The evidence well demonstrated that
Bertelli was elderly and unwell. Moreover, defendant had
testified that she sometimes signed documents for Bertelli
because of his poor health. Accordingly, if defense counsel were
to challenge that Bertelli was elderly and in poor health at the
time of defendant's offense, he would not only have lost
credibility with the jury but also would have made an argument
that was contrary to one of defendant's defenses.

Defendant also cannot satisfy the second prong of Strickland
because she cannot establish that she suffered any prejudice as a
result of her counsel's purported missteps. As set forth above,
there was and could be no dispute at trial that Bertelli was
vulnerable. Therefore, if the jury concluded that Bertelli was a
victim of defendant's fraud, it necessarily would have concluded
that he was vulnerable, even if defense counsel performed exactly
as defendant now wishes he had.

More importantly, the unique procedural posture of this case

16

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 22 of 29 Page |D #:185

makes it impossible for defendant to demonstrate prejudice.
Defendant was initially sentenced during the brief period of time

when United States v. Ameline, 376 F.Bd 967 (9th Cir. 2004)

 

(“Ameline l") was the law of the Circuit, and the government was
required to prove sentencing enhancements beyond a reasonable
doubt. However, following the initial sentencing hearing,
Ameline l was withdrawn on rehearing en banc and the Booker
decision was issued. §ee Ameline l, 376 F.3d 967, reh'g granted,

400 F.3d 646 (9th Cir. 2005), withdrawn on grant of reh'g en

 

banc, 401 F.3d 1007 (9th Cir. 2005). Booker made clear that
sentencing enhancements do not have to be proven to a jury beyond

a reasonable doubt. United States v. Booker, 543 U.S. 220

 

(2005). District courts retain the authority to find
enhancements based upon a preponderance of the evidence standard.
Accordingly, the jury's finding regarding the vulnerable victim
enhancement was irrelevant to defendant's ultimate sentence. The
authority rested with this Court to sentence defendant based upon
its findings. Here, the Court not only stated at the initial
sentencing hearing that it concluded Bertelli was vulnerable, but
it specifically concluded during the Ameline remand that a 15M
month sentence was appropriate in light of the factors set forth
at 18 U.S.C. § 3553(a) factors. ln this circumstance, the record
well establishes that defendant in fact suffered no prejudice as

a result of her lawyer's conduct at sentencing.6

 

gDefendant additionally claims that the Court "instructed
the jury that the government did not have to prove that
[defendant] actually committed the crime ~~ but that it was

17

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 23 of 29 Page |D #:186

2. Cross-Examination of Chavez and Sanford

Defendant next complains that during trial, her counsel
failed adequately to cross~examine Chavez and Sanford. Chavez
testified as a custodian of records, in order to authenticate
bank documents that demonstrated that on August 20, 2000, $36,441
was wired from Capital Partners's Bank of Stockton account into
defendant's Wells Fargo Bank account. Under Fed. R. Evid.
902(11), the documents introduced by Chavez were self~
authenticating and the government could have, if it chose,
admitted them without Chavez's testimony, _e§ Fed. R. Evid.
902(11). Sanford testified that the August 20, 2000 wiring
traveled interstate, through New Jersey.

The bank documents speak for themselves. As with most wire
fraud cases, the fact that money moved from one place to another,
and that such movement was implemented by interstate wire, should
not have been a controversial issue at trial. There was simply
no evidence to rebut the existence of the interstate wiring.
Under the circumstances, defense counsel's cross~examination of
the witnesses was reasonable. Even if defense counsel had spent
more time cross~examining the witnesses, there is no possibility,

much less a reasonable probability, that the jury could conclude

 

sufficient if she merely thought of doing it." (Def‘s Mot. 12).
Defendant has failed to support her contention with a citation to
the record. The government's review of the transcript indicates
that the Court never delivered any such instruction to the jury.

18

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 24 of 29 Page |D #:187

that the wiring at issue in this case did not travel interstate.’
3. Defendant’s Testimony

Defendant next contends that her counsel was ineffective in
permitting her to testify and subjecting her to cross~
examination. The precise nature of defendant's claim, however,
is not clear. ln her motion, defendant claims that counsel
should have prevented her from testifying at trial. At the same
time, she also complains that counsel did not elicit enough
information from her on direct. (Def's Mot. 16'17). As to
defendant's complaint that her counsel should not have permitted
her to testify, defendant ignores that a defendant has a due
process right to testify in her own defense. §ee Rock v.
Arkansas, 483 U.S. 44 (1987). Moreover, it is the defendant who
"has the ultimate authority to make certain fundamental decisions
regarding the case, as to whether to plead guilty, waive a jury,
testify in his or her own behalf, or take an appeal." Jones v.

Barnes, 463 U.S. 745, 751 (1983) citing Wainwright v. Sykes, 433

 

U.S. 72, 93 n.l (1977). Here, defendant has failed specifically
to articulate how counsel, in permitting defendant to exercise

her Fifth Amendment right to testify, was ineffective. Defendant

 

’Defendant suggests that if Capital Partners paid defendant
by check, no interstate wires could have been used to further her
scheme. (§ee Def's Mot. 15). This argument is without merit.
First, there was no dispute at trial that $36,441 was wired from
Capital Partners‘ bank account, interstate, to defendant's bank
account. Moreover, even if Capital Partners had sent defendant a
check instead, defendant's argument would fail if the funds were
subsequently wired from one bank to another, interstate, §§e
e.g. United States v. Wolfson, 634 F.2d 1217, 1220 (9th Cir.
1980) (interstate telephone calls to fictitious bank by victim
who received worthless check, were within wire fraud statute).

19

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 25 of 29 Page |D #:188

does not assert (much less support with a declaration or other
form of evidence) that her counsel forced her to testify, failed
to advise her of her Fifth Amendment privilege against self~
incrimination, or failed to discuss with her the potential
ramifications of testifying.3 Accordingly, defendant has not
established that her counsel's performance was deficient.

As to defendant's complaint that counsel should have
elicited from defendant additional alleged facts, again defendant
has failed to support her assertions with any evidence. The
government submits that no such evidence exists. For instance,
defendant contends that her counsel should have elicited from
defendant that the FBl case agent and the prosecutors on the case
"were the very same group of governmental officials which had by
now federalized and seized DeNova's and Mr. Cole's assets "
(Def's Mot. 10). As far as the government is aware, neither the
U.S. Attorney's Office nor the FBI ever seized DeNova or Cole's
assets. Defendant also criticizes her counsel for failing to
elicit during her testimony that defendant was expected to
"testify against the [U.S. Attorney's Officel in an upcoming

administrative hearings for the illegal search and seizure of

 

8Because defendant has failed to present any evidence that
needs to be rebutted, the government has not sought additional
information from defense counsel. As set forth above in footnote
3, if the Court determines that additional information is
necessary to adjudicate defendant's claim, the government
respectfully requests that the Court find a limited waiver of the
attorney»client privilege and permit the government to submit a
filing setting forth procedures for implementing the waiver and
requesting a briefing schedule for further addressing the
defendant's claims.

20

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 26 of 29 Page |D #:189

several properties and businesses as well as abuse of authority
and trust under the Superfund laws." (Def's Mot. 17). The
government is not aware of any such administrative hearing or any
allegation regarding the legality of any search or seizure
conducted in connection with this case. Defendant further
suggests that she would have prevailed at trial had counsel
elicited that the prosecutors and the FBl agent were "then being
investigated by the lnspector General and several congressional
committees " (Def's Mot. 17). Once again, the government is not
aware of any such investigation. Defense counsel's failure to
elicit false testimony cannot be deemed objectively unreasonable
under the circumstances. To the contrary, had defense counsel
elicited what he would have known to be perjured testimony, he
would have been acting unethically. §§e Rule 5~200 of Cal. Rules
of Professional Conduct.

Defendant also cannot demonstrate that had defense counsel
elicited any of her purported facts that the jury would have
acquitted her of the charges. The evidence of defendant's guilt
was overwhelming. Defendant told Capital Partners that Bertelli
had personally guaranteed a debt to DeNova. Defendant then
submitted certain documents to Capital Partners, which she stated
had been signed by Bertelli. ln return, defendant received
$36,441. At trial, Bertelli testified that he had never
guaranteed any debt to DeNova and had not signed any of the
documents that defendant had submitted to Capital Partners.

Defendant admitted to the FBl and the grand jury that she had

21

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 27 of 29 Page |D #:190

signed Bertelli's name to certain documents. Even without
defendant's testimony, the evidence well established defendant's
guilty. Accordingly, defendant has not met her burden of proving
that her counsel's alleged failures with regard to her testimony
"so undermined the proper functioning of the adversarial process
that the trial cannot be relied upon as having produced a just
result." Denham v. Deeds, 954 F.2d at 1505.
4. Signed Copy of Indictment

Finally, defendant contends that her counsel was ineffective
because he "failed to raise the failure of the Government to
produce any indictment ever signed by the Grand Jury foreman as a

complete defense to the charges, as mandated by Fed. R. Crim.

proc. 6(c)." (Def's Mot. 17). A signed copy of the first
superseding indictment was filed with the clerk. (CR CR 52;
attached Exhibit A). There is no legal support for defendant's

argument that the government was required to provide her with a
signed copy of the indictment and that her counsel was
ineffective in failing to insist that it did so. _§§ White v.
Sanford, 142 F.2d 429, 430 (5th Cir. 1943) (where the original
indictment was signed by the grand jury foreperson, defendant was
not entitled to release on writ of habeas corpus despite
defendant's possession of an unsigned copy of the indictment).

Accordingly, defendant can neither demonstrate that her counsel's

failure to demand a signed copy of the indictment was objectively

22

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 28 of 29 Page |D #:191

unreasonable or that she suffered any prejudice as a result.9
lV.
CONCLUSION
For the reasons stated above, the government requests that
this Court deny defendant's motion.
Dated: February“;:, 2010 Respectfully submitted,

GEORGE S. CARDONA
Acting United States Attorney

CHRISTINE C. EWELL
Assistant United States Attorney
Chief, Criminal Division

71 W/\//

Doa’o"“rsr c . kim
Assistant United States Attorney

 

Attorneys For Plaintiff
United States of America

 

YAt pages 19 to 22 of her motion, defendant complains about
the pace of her pending second appeal. Given the Court of
Appeals's denial of her second appeal, defendant's complaints are
now moot.

23

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

base 2:04-cr-OO374-S.]O Document 193 Filed 02/03/10 Page 29 of 29 Page |D #:192

CERTIFICATE OF SERVICE
l, Georgina Moreno, declare:

That l am a citizen of the United States and resident or
employed in Los Angeles County, California; that my business
address is the Office of United States Attorney, United States
Courthouse, 312 North Spring Street, Los Angeles, California
90012; that l am over the age of eighteen years, and am not a
party to the above~entitled action;

That l am employed by the United States Attorney for the
Central District of California who is a member of the Bar of the
United States District Court for the Central District of
California, at whose direction l served a copy of:

GOVERNMENT'S OPPOSITION TO DEFENDANT’S MOTION UNDER
28 U.S.C. § 2255

service was:

1 1 Placed in a closed 1X] Placed in a sealed
envelope, for collection envelope for collection and
and interoffice delivery mailing via United States Mail,
addressed as follows: addressed as follows:

1 ] By hand delivery 1 1 By facsimile as follows:
addressed as follows:

1 ] By messenger as follows 1 ] By federal express as follows:

Ronald Gold

Oldman, Cooley, Leighton, Sallus, Gold & Birnberg
16133 Ventura Blvd., Penthouse, Suite A

Encino, CA 91436-2408

This Certificate is executed on February 3, 2010 at Los
Angeles, California

    
 

l certify under penalty of perjurygfha
true and correct.

oregoing is

 

sse§siNA MoRsNo

 

 

